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      EXHIBIT 1%
    5edacted Version of
Document Sought to be Sealed
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                                        November 16, 2019


VIA ELECTRONIC MAIL

Martie Kutscher Clark                              Joshua Lipshutz
Gibson, Dunn & Crutcher LLP                        Gibson, Dunn & Crutcher LLP
1881 Page Mill Road                                1050 Connecticut Ave NW
Palo Alto, CA 94304-1211                           Washington DC 20036


        Re:     In re Facebook, Inc. Consumer Privacy User Profile, (N.D. Cal.), Case No. 3:18-
                md-02843-VC

Dear Martie and Josh:

       This letter addresses the substance of our Rule 26(f) meet and confer on Monday,
November 11, 2019. Plaintiffs write to provide further details regarding their proposals for
production of certain categories of documents—given that the parties agree that discovery has
been open since November 4, 2019—for which the burden associated with producing the
documents is de minimis. In an abundance of caution, our proposal for production of certain
documents is not a waiver of our right to seek further discovery or a concession as to the
relevance of any items not included in this list. In addition, Plaintiffs provide a written list of the
additional information Plaintiffs requested which Facebook was not prepared to address on our
meet and confer. Consistent with Facebook’s representations on the call, we ask that Facebook
provide the information set forth herein by November 25, 2019.

    A. Plaintiffs’ Proposals for Initial Production of Documents by Facebook

        1.      Production of documents relevant to the claims and defenses in this matter that
                have already been produced in response to regulatory investigations, actions or
                inquiries. To help determine whether the documents produced to the FTC are
                relevant here, and consistent with Judge Chhabria’s direction, we confirmed to
                you earlier this week that the FTC does not object to the production of the
                demand letters and any correspondence relating to the scope of production to the
                FTC and requested their production. Please let us know when you will produce
                them.

        2.      The unredacted PWC reports (including the Initial Assessment Reports and all
                subsequent Biennial Reports) and supporting work papers.
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       3.     Production of organizational charts, including but not limited to the departments
              that received litigation-hold requests for this action and for the FTC proceedings.

              All non-privileged materials relating to the App Developer Investigation,
              including those produced to the Massachusetts AG’s office. These materials
              include but are not limited to those described in the October 7, 2019 Declaration
              of Stacey Chen In Support of Respondent’s Opposition to the Attorney General’s
              Petition, Case No. 1984CV02597-BLS-1 (attached as Exhibit A) ¶¶ 5, 8, 35, 37.
              Plaintiffs understand that Chen is a Facebook employee who identified relevant
              nonprivileged materials already produced to Massachusetts. The Chen
              Declaration identified the following categories of documents as already
              produced:

              a. Documents relating to the investigations into violations of Facebook’s
                 Platform Policies conducted by the Developer Operations team, pertaining to
                 access to user content and information, misuse of user content and
                 information during the relevant time period. See Chen Decl. ¶ 5.

              b. Documents relating to the “processes and methodologies previously used to
                 assess third parties’ compliance with Facebook policies.” See Chen Decl. ¶ 8.

              c. Documents produced in response to Massachusetts Attorney General Civil
                 Investigative Demand Request 3(d)-(i). See Chen Decl. ¶ 35.

              d. The lists of apps that are the subject of external actions or communications
                 with third parties, including the list of applications Facebook has suspended
                 and the reason for the suspension. See Chen Decl. ¶ 35.

              e. Communications between Facebook and developers relating to the ADI. See
                 Chen Decl. ¶ 37.

   B. Plaintiffs’ Requests for Responses and Additional Information from Facebook

        To help advance the discovery and meet-and-confer processes in this matter, we request
the following from you.

       1.     Your response to the proposed ESI protocol circulated by Plaintiffs on November
              6, 2019. This will include descriptions of the accessibility of data sources,
              specific information regarding Facebook’s backup and archival systems, a
              description of data from sources Facebook believes is not discoverable under the
              proportionality factors, the time frames for which ESI has been preserved, the
              identification of custodial and non-custodial data sources, and confirmation that
              Quip chat is being preserved.
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         2.     An update regarding the exact number of custodians who have received litigation
                holds related to this action, whose data and files Facebook is preserving.
                Facebook previously indicated that        employees have received litigation hold
                notices.

         3.     An update regarding the scope of the litigation hold notices issued in March
                2018, as described in your letter dated August 17, 2018.

         4.     An update regarding your disclosure that 25 Facebook Employees have been
                identified as having information about Cambridge Analytica.

         5.     An update regarding the number of interviews with current and former Facebook
                employees. Facebook previously indicated that 60 employees had been
                interviewed.

         6.     The date range of information relating to the App Developer Investigation,
                including the date the investigation commenced, the date range covered by the
                investigation, and, if applicable, the date upon which the investigation closed. If
                the investigation is ongoing, so state.

         7.     The number of apps, identity of apps, and date range for which
                     API requests (or “calls”) have been preserved, as well as logs of information
                reflecting what content and information has been accessed through those calls.

       Finally, Plaintiffs appreciate Facebook’s November 14, 2019 circulation of Facebook’s
proposed alternative case schedules. In fulfillment of the Court’s instruction that the parties
meet and confer regarding their respective proposed case schedules, Tr. of Proceedings at 51:2-
16, Nov. 4, 2019, Plaintiffs attach their proposed schedules as Exhibits B and C to this letter.

         We look forward to hearing from you.

                                                      Regards,




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